Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 1 of 34 Page|D #: 6

EXHIBIT A

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 2 of 34 Page|D #: 7

Circuit Tlmrt
mc

Mamon Tonntg
,S`z'xreenth Jud.!'cz'al Circuit
Rhomla L. Starn 219 Adams Street
Circuit C!er/'< Room 21 l
(304) 367-5360 -Fairmont, WV 26554

 

Jason Basnett
V.
XTO Energy inc.

Civii Action Number 17-C~309

December 22, 2017

i, Paige i\/|urphy, Deputy C|eri<, do certify that the foregoing is a true and correct certified copy of the

entire docket sheet in civil case 17-C~309 as of December 22, 2017.

Ri'\onda L. Starn,. Circuit Cierk

Paige |Viurphy, Deputy Circuit Cle rk

 

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 3 of 34 Page|D #: 8

Court: Circuit County: 24 - Marion Case Number: CC-24-2017-C-309
Judge: David lanes Created Date: 11/21/2017 Status: Open

Case Type: Civi| Case Sub~Type: Contract Security Leve|: Pub|ic

Styie: Jason Basnett v. XTO Energy lnc.

   
     
  

   

 

 

 

 

 

 

 

 

 

 

 

: Caselnfo_r_mauon Sheet E¢iile _ 511{’21_/20~17… §
ji.'z" "`_"""EL§H{;;}§§£§“_ §§~tzle Com}§iéi§n W m """"§"i`122"1/2_01:7in "_'19`§
13n Transmiual" `_ E»f\le_'"” _ 4 mr w m 11/21/20172
T‘l `§“mmons E-l_l_l_¢ _ _ W 11/2“2012 2
§:1-1 Summons Scanning_VauicSoHo ;§SS§;“£§I`§;$I§O ENERGYINC'CORP‘FWD §11/21/2017; 1
l_21 Olh_ ____ Sc=mnngVl“llSOHOR-ECEIPT§OFSOS ` x _ 1224/20122

921/eo

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 4 of 34 Page|D #: 9

EXHlBIT A

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 5 of 34 Page|D #: 10

Circuit Tumt
of

Mz:mun To).mtg
Sixleemh Judfcl`af Circqu
Rhomla L. Starn v 219 Adams Street
Circuit Ci'erk Room 21 1
(304) 36'7-5360 'Fair'mont, WV 26554

 

Jason Basnett
V.
XTO Energy inc.

Civi| Action Number 17-€-309

Decem ber 22, 2017

i, Paige l\/|urphy, Deputy C|erk, do certify that the foregoing is a true and correct certified copy of the

entire docket sheet in civii case 17-C-309 as of Decernber 22, 2017.

Rhonda L. Stern, Circuit Cieri<

Paige |Viurphy, Deputy Circuit C_|erk

 

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 6 of 34 Page|D #: 11

Court: Circuit County: 24 ~ Marion Case Nurnber: CC-24-2017-C~309
Judge: David lanes Created Date: 11/21/2017 Status: Open

Case Type: Civi| Case Sub~Type: Contract Security Leve|: Pub|ic

Sty|e; §ason Basnett v. XTO Energy lnc.

  
         

Clll llflllllllllllll l_-l_l_ _ __ _ lllllllll_l_ __ __ li
§ll _ Clllllll= E-l!l llllplll ;_llllllllll?__ ll
ll lllllmllll _ _E-lll __ __ "__lllllll'll __ ,l;

 

 

 

     

§ 1~4 Summons _E-t`:l“e n

l 7 ,¢ ,m ,… _..._..u ~. _

 

, _ ' "§fc"sUMMONS"To`XToEN:ERGYM£I;J`E_ codeinsz ' § n
§Il-l Summons Scanmng - Vault SOHO TO SOS FOR SERV[CE ;l 1/21/'2017 § 1 §

ill-1 ___ __ 9ll_ Sll_lvlSOHORECElPTSOF 898 f

 

    

 

 

"""`__f`_`__l`/_lllll"ll__; __ l:

 

 

 

%_ll,_

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 7 of 34 Page-l|`§) #' 12

  
 
 

COVER SHEET

 

 

 

 

 

IN THE CIRCUIT COURT OF MARION COUNTY WEST VIRGINIA
Jason Basnett v. XTO Energy Inc.

_ t l:lBusiness -lndividual _ [;_]Business §lndividual
Flrst Plamtiff: Flrst Defendant:
[:] Government § Other i:l Government l:l Other
.Iudge: David lanes

 

 

 

 

 

 

 

Case Type: Civil Complaint Type: Contract

Origin: -Initial Filing i:]Appeal from Munioipal Court [:l Appeal from Magistrate Court
Jury Trial Requested: .Yes [:INo Case will be ready for trial by: 5/21/2018

Mediation Requested: Yes [:]No

Substantial Hardship Requested: :]Yes .No

 

[:] Do you or any of your clients or witnesses in this case require special accommodations due to a disability?
13 Wheeichair accessible hearing room and other facilities
[:] Interpreter or other auxiliary aid for the hearing impaired
[:l Reader or other auxiliary aid for the visually impaired
§:] Spokesperson or other auxiliary aid for the speech impaired

E Other:

 

i:} I am proceeding without an attorney

I have an attomey: Kenneth Miller, 936 East Park Avenue Suite 2, Fairmont, WV 26554

 

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 8 of 34 Page|D #: 13

 

 

Name: XTO Energy Iric.
Address: Corporation Serviee Company, 209 West Washington Street, Charleston WV 25302
Days to Answer: 30 Type of Serviee: Seeretary of State - Certifled

 

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 9 of 34 Page|D #: 14

 

lN THE ClRCU|T COURT OF MAR|ON COUNTY, WEST VlRGIN|A

JASON P. BASNETT and
TERESA L. BASNETT,
husband and wife,

P|aintiffs,

v. CIV|L ACT[ON NO.

XTO ENERGY lNC.,
a De|aware corporation,

Defendant.
COMPLA|NT
1. The F’laintiffs, Jason P. Basnett and Teresa L. Basnett (hereinafter

“P|aintitfs”), are l\/larion County residents residing at 313 Festus Ridge Road,
Worthington, Marion County, West Virginia.

2. The P|aintin‘s are owners of oil and'gas underlying a 34.688 acre
tract located in l_incoln District, lVIarion County, VVest Virginia, identified as Tax |Viap 11-
57, Parcels 20, 20.1, 21 and 23.1.

3. The Defendant, XTO Energy inc. (hereinafter “Defendant") is a
Delaware corporationl is licensed to do business in West Virginia, and has its principal
office located at 810 Houston Street, Fort Worth, TX 76102.

4. At ali times alleged herein, Defendant Was engaged in the business
of acquiring oil and gas leases, forming drilling units, preparing weil sites, and drilling
and operating oil and gas Weiis.

5. Defendant approached the Plaintiffs about leasing their oil and gas

interest and on Septernber 20, 2012, as evidenced by |Vlernorandurn of l_ease of record

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 10 of 34 Page|D #: 15

in Deed Book 1122, at page 102, and its accompanying unrecorded oil and gas |ease,
the Plaintifts leased their oil and gas interest to Defendant for a primary term of 5 years.
See P|aintiffs Exhibit 1 attached hereto.

6. The primary term of said lease began on September 20, 2012, and
expired on September 20, 2017.

7. in the year 2013, Defendant approached the P|aintitis about
purchasing a sma|! portion of their propertyl The Plaintiffs Were hesitant to sell any of
their property as it had been owned by their family for decades

8. Defendant informed Plaintiffs that if they would sell the desired
portion of their property to Defendant that it would allow Defendant’s dri|i`mg rigs to
access the well |ocation.

9. The parties thereafter agreed that if Plaintitfs would agree to sell
Defendant the desired portion of Plaintiffs’ property then Defendant Would guarantee
that P|aintiffs’ oil and gas tract would be included in one or more drilling or production
Units.

10. P|aintifis reluctantiy but voluntarily agreed to convey Defendant the
desired portion of property because the Defendant guaranteed that Plaintitfs’ oil and gas
lease would be drilled

11. By deed dated the 26th day of May, 2013, and of record in Deed
Book 1133, at page 402 in the Ottice of the C|erk of the County Cornrnission of l\/larion
County, West Virginia, Plaintitfs conveyed said property to Detendant in exchange for
the promise that Defendant woqu include Plaintiffs' oil and gas tract in one or more

drilled or production units See Plaintiffs Exhibit 2 attached hereto.

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 11 of 34 Page|D #: 16

12. To memorialize the agreement, by Letter of Agreement executed in
ivlay 2013, and recorded in the office of the C|erk of the County Cornmission of l\/larion
County, West Virginia, in Deed Book 1215, at page 652, the Piaintiffs and the
Defendant entered into a contract whereby the Deiendant guaranteed to include
Plaintiffs' oil and gas tract in one or more pooled and unitized drilling and production
units upon the issuance of permits to drill same. See Plaintiffs Exhibit 3 attached
hereto.

13. More specifica|iy, said contract provides “[t]or sufficient
consideration provided by Lessor, Lessee hereby grants to Lessor a Guarantee to
include the above described mineral acreages in one or more pooled and unitized
drilling and production units upon the issuance of permits to drill the same."

14. Defendant has several drilling and production units in the area of
Plaintiffs’ property in which wells have been permitted and/or drilled

15. Despite having several units in the area, Defendant did not inciude
Piaintiffs’ oil and gas tract in any of the aforementioned units and instead allowed the
P|aintiffs lease to expire on September 20l 2017.

16. The above contract is unambiguous and clearly contains a
guarantee that Defendant would include the Plaintiffs’ property in one or more drilling
and production units.

17. Defendant has unequivocally breached the contract it entered into
by not including the P|aintiffs’ oil and gas in any unit and by allowing the P|aintifts’ lease

to expire four years after the contract was executed

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 12 of 34 Page|D #: 17

VVHEREFORE, the Plaintiffs demand that the Defendant be obligated to
perform its duties delineated in the contract, that P|aintiffs be re-leased and immediately
included into one or more drilling and production units, and that Piaintiffs be awarded
compensatory damages, punitive damages, recovery ci their costs, and reasonable
attorney fees incurred in seeking this relief against the Defenclant.

Piaintitfs demand trial by jury.

Jason P. Basnett and Teresa L. Basnett,
husband and Wife,
P|aintiffs By Counse|

/(MW\

Kbnn'eth R. l\/|i||er (wv stare ear lo #2558)
K. Aiex N|i||er (vvvsiare ear lo# sees)
l\/l|i_LER LAVV OFF|CES, PLLC
936 East Park Avenue, Suite 2
Post Office Bo)< 2116

Fairrnont VVV 26555-2116

(304) 366~0822

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 13 of 34 Page|D #: 18

¢.

©M,t § reader

'P_r_nznnrnsrr'lu tnstrunenl. Boak Pase
t\i~.irl.nr trunks 201290
` MIl-L P‘[CF, HF_ 01531? 1122 102

MEMORANDUM OF O|L & GAS LEASE
Psge l ofl

This Memorandum of Oil & Gas Lease is made 20th day ot September, 2012, as of the between Jason P.
Basnelt 81 Teresa L. Elasnett. husband and wife. as Lessor or (whelber one or more), whose address is
3t3 Festus Ridge Road. Worthington, WV 26591~0000, and XTO Energy, inc., whose mailing address

ls 510 l-touston Street, Fort Worti'l, TX 76102-6298 as Lessee.

WlTNESSETH, That for and in consideration of One Dollar ($1.00) and other good and valuable
consideratlon. the receipt end sufficiency of which is hereby acknowledged, and of the mutual covenants
and agreements set forth |n a certain lease between the Lessor and t.essee dated 09120!2012,
(herelnalter referred to as the "Leasc") does hereby grant, demise lease and lel exclusively onto Lessee
the following described premises:

Dsscrlption, The Leasehold ls located in the Dislrict of L|ncoln. Man°on County. West Virginia, and
described as follows:

"SEE EXHIB]T "A" ATTACHED HERETO AND MADE A PART HEREOF FOR LEGAL DESCR[PT¥ON
AND DTHER PRQVIS!ONS OF TH|S LEASE"

and described for the purposes of this agreement as containing a total of 34.6880000 gross acres,
whether actually more or less. including contiguous lands owned by Lessor (lncluding any interests
therein which Lessor may hereafter acquire by reversion. prescription or otherwise).

TO HAVE AND `I`O HOLD the Leasehold for a term commencing 09!20/2012 (effective dale} and
terminating Flve (5} Years thereafter, and for as long thereafter as prescribed payments are made. cr for
as long thereafter as operations are conducted on the Leasshold in search of or production cf oil. gas, or
their constituents or for as long as a well deemed by Lessee to be capable of production is located on the
Leasehold cr lands pooledlunilized therewllh, or for as long as extended by provision herein, or for as
long as the Leasehold is used for the underground storage of gas. or for the protection of stored gas.

ln the event the Lease ls in future amended or supplemented by written lnslrurnent executed by the
parties in interest thereto or shall be assigned or terminated in any manner permitted under the terms of
the Lesse. then without any further act or instrument whatsoever, this Memorandum of Oil & Gas l_ease
shai| likewise and to the same effect be amended. assigned or terminated, as the case may be.

l

Both Lessor ann Lessee have tn their possession of a fu|iy executed original of the Leas_e.

This Memorandum of Oll & Gas Lease is executed in simplified short form for tile convenience of the
parties and for the purpose of recording the same. This Mernorandum of Oil 81 Gas Lease is recorded in
lieu of the Lease and tor the purpose cf placing ali persons on notice ol the existence ot the Lease and

shall not have the effect of in any way modifying supplementing or abridging the Lease or any of its
provisions as the same or now or may hereafter be in force and effect

lN WiTNESS WHEREOF, this instrument ls executed on the date and year first above written

Ld§§on P. Basnelt Teresa l... Basnett

Lessee'. XTO Energ\l. lnc.

iza//aa/

By: Edwin S. Ryan. Jr. 61
Senlor Vlce Presldent~ Land Adminlstretion

WAZMM

PL&EP€T!FF’§
EKHEB§?

____l__

Case 1: 17- -C\/- -00226- ||\/|K Document 1- 1 Filed 12/29/17 Page 14 of 34 Page|D #: 19

Insl:ruuent Book Pccse
29128¥)015819 1122 103

MEMORANDUM OF OlL & GAS LEASF.

Flg:i on

 

 

State of IML[¢\ .
County of inn wm wm
On this ‘20 day of ~§€,r.»'t'“ . 201 Z-. before me the

 

undersigned Notary Pubitc' :n and for said County and State personain appeared Jason P. Basnett &
Teresa L. Basnett. husband and wife known to mate be the persons whose names subscribed to the
foregoing instrument and acknowledged that they executed the same as their tree and voluntary act
and deed for the purpose and consideration therein mentioned end set forfh.

iN WITNESS WHEREOF l have hereunto set my hand and official seai.
My Comrnisslon Explres: § " 3 - 10 iii

Signature.lNotary Put)lic: gin m @iM:,¢¢ *' 4 ornamean

, .. No`f#~m' Puat.tc
l =~‘
Name!Notary Pubilc (print): ¢_)¢' hit [M Ct"»'lq b "’ j

 

 

STJ\TE QF WEST V`t“GlNlA
JOHN M CR\AUQ

BlS BH°ADWA\' |\VENUE

FNRMOM,wv 25551

' rey commlssfun upires Aplt| 3. 2015

  

 

ACKNOWLEDGEMENT OF AGENT FOR LESSEE
State of Texes

County of Tarrant

t 2 §§
On this. the 3 dday of U\XD\O€J( . before me a notary public, the

undersigned ofiicer, personatly appeared E-Idwin S. Ryen, ..ir., on behalf of XTO EnerQy. lnc.. as its Senior
V|ce Prastdent - i.and Administration. known to me (or satisfactorily proven) to be the person{s) whose
name is subscribed to the within lnstrument. and acknowledged that _____________,___ executed the same for

the purposes therei ntained.

  
 
 

. l hereunto set my hand and official seal.

 

}
Nota\r;Pub|ic,\SLa§p/Of

Printed Name. JORDAN AsHLEE LASSIYER

 

Commisslon Expires:

Prepared by: T. S. Dudtey Land Compariy, lnc.

Af‘ier Rocordfng, please return to:

XTO Energy, |nc,

810 Houston Street

Fort WDf‘lh TX, 78102-6298 LPR# 12-0?'892-2628

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Pages%o§?gt; 34 Page|D #: 20

Instrcr¢enk
\ 20120|]015819 1122 134

ElealT "A" ”°9°1 °"

THES EXH|B|T "A" attached hereto and made a part of that certain Memorandum of an "Oit & Gas Lease"
dated the 20th day of September. 2012 by and between Jason P. Basnatt & Teresa L. Basnett, husband
and wife. as Lessor and XTO Energy, tnc,, as Lessae.

LEGAL DESCRIPT|ON: .

26.6880000 acres. more or less, described in Warranty Deed Book 982. Page 266. dated 02-1?-2003, from
Dennis B. Basnet! and Judith Basnef. his wifel to Jason P. Easnetl and Teresa L. Basnat. his wife, also
described as Llncoln Tax District (1 1), Map 0057, Parce| Number 0020»0000. Tax Parcef !d Number 11-
0057-0020-0000.

3.0000&09 acres. more or fess, described in Warranty Deed Boot~c 944, Page 79. dated 12~03~199?. from
Roy G. Basnet't and Doris J. Basnet‘t. his attorney-|n-{act. Dorls J. Basna'd. his wife, to Jason F'. Basnatt and
Teresa L. Basned, his wife, also described as Lincctn Tax District(11), Map 0057, Parcel Number 0020-
0001. Tax Pan:el |d Number 11-0057-0020-0001,

1.0000000 acres. more or less, described |n Warranty Deed Book 1056, Page 207. dated 10-07-2009. from
Louts P. Brown, widow. to Raymond M. Lucas and Fam E. Lucas, his wife, also described as Ltnco|n Tax
District (11). Map 0057. Parce| Number 0023-0001. Tax Parcel ld Number 11~0057~0023-0001.

4.0£_300000 acres. more or lasa. descr|bed in Warranty Deed Book 982. Page 266, dated 02-'!?-2003. from
Dennts G. Basnet't and Judith Basnett. his wtta, to Jason P. Basnett and Tsresa L. Basnet, his wife. also
described as L!ncotn Tax Distn'ct (11), Map 0057. Parcel Number 0021-0000. Tax Parcel |d Numbar 11-
0057-0021-0000.

QM;», § GMM' my!f/L@©%W/

Mnn P. Basnett Teresa L. Basnett

201260015819

Filed !`d\" Recur~d in

hnRIDN CE)UNTY¢ W

VJHHICE CDSCDr CBUH\"{ §LERK
10-26-2012 At 61102 nm.
LEASE tt.FJO
STA¥E TAX .UO
CBUHTY TAX .00

Book 1122 Puse 102 - 104

Case 1:17-cv-00226-ll\/|K Document 1-1 Filed 12/29/17 Page 16 of 34 PagelD #: 21

cal

rain UP olL and cas LEASE (“- §
` ]'
~ss)
Tl-HS AGREE¥\¢D§NT made and entered otto this the 20th day ofSeptcmber, 2912, by and between Jasop_,l'. drs & Teresa L. Basnctt,
husbaan and wife, 313 Festus Ridge Road, Worthingtoo. WV 26591-00€)0, hereinafter called Lessor (whether cr incre}, attd.XTO Energy .lnc., n
Delnwnrc ccrporaticn, with a mailing address of 810 Houston Strect, Fort Worth, Texas 76182-6298, hereinail“_er called Lesscc,
t\;'

Wl'lNESSE'I'l~l, that said lossor, lirr and in consideration ofthc sum ol`ONE DOLLA.R ($1.00), the receipt ofwbiclt is hereby acidicwiedged,
and o€thc royalties herein provided, and cftlte covenants hereinafter contained to be paid, kept and performed by said lessee grants, demiscs, leases and
lets, exclusively unto lessee the lands hercinatler described with covenants of general warrantyl for the purposes and with the rights of exploring by
conducting geological surveys, by geophysical surveys with scisrnographs, by core tests, gravity, magrmtic, geochemical and other methods whether now
developed cr developed later, and of commuting drill sites to drill new wells, rccondition producing wells, re-drill and use abandoned wells, pipe and
equipment on the property, and of drilling either vertically cr horizorrtally, producing, and otherwise operating tbr oil or gas or both along with all
hydrocarbon substances produced in mediation therewith together with the right and easement to construct lay, modify, operate, repa.ir, maintain and
remove pipelines, telephone power and electric lines (tclcpltooc, power and electric lines for use only with associated oil and gas production equipment),
tardrs, pomls, permanent roadways including stone or rock mark, planls, stations, compressors, equipment and structures thereon including houses for
valvel, meters, regulators and other appliances, together with the exclusive right to inject air, gas. water, brine or other fluids into the subsurface abatn,
with any and all other rights and privileges necessary, incident to or convenient for such operations on this laod, alone or co-jointly with neighboring
lands for these purposes, together also with the right to unlimited access to the lease premises so lessee can exercise the aforesaid rlghts, all that certain
tract ofland situate in the Lincoln District, Marion Cottnty, Staie of West Virginia, and bounded substantially ns follows (the “lease premises”):

"SBE EJU-i`[BIT "A" A'I'I'ACHBD HERET() AND MADE A PART HER.EOF FOR LEGAL DESCRIP'I`ION AND OTHIER
PROV}SIONS OF 'IHIS LEASB"

and containing 34.6£80000 acres oflnnd whether actually containing more or less. This lease also covers and incluch in addition tothat above described
all land, i._t'any, contiguonsoradjment to or adjoiningthe landahove described and(a)owned or claimed hylessorbylimitntion, prescription possession
reversicn, atlcnacquircd title or lmreoorded instrument or (b) as to whichlcssorl\as aprefcrcnco right ofccquisition. lessor agrees to execute any supplemental
instrumentrequcctcd by I:.see for amoco complete or accm'ato description of said land

l. It is ngreedtitat this lease shall remain in £orce for a primary term chive (5) Years nom the date hereof hereinafter called “primary term", and
ss long thereafter as oil or gas is produced flour the leased Premises, or li'crn lands pooled dietewi‘lh, or operatious, us hereinafter delined, are conducted
upon said land, without a cessation of such production end operations for an unreasonable period oftirne, or this lease is maintained in force under any
subsequent provisions hcrcc£

2. lessee covenants and agrees:

(a) to deliver to the credit of lessor, his heirs or assigns, free ofcosls, a royalty 14.5% of that native oil produced and saved iiqu the lease
premises, with the exception africa-commercial nuisance oil, and delivered al the wells or into the pipelineto which the wells may be connected lessee
may from time in time purchase any royalty oil in its possession pnyi.ugthc market price then prevailing for tire field where produccd, and lessee may
sell ouyroyalty oil in its possession and pay Lessorthe price received by lessee ibt such oil computedatthe well, and

(b) to pay lessor as a royalty for the native gas and casinghead gas cr other gaseous substanoe, produced from said land and sold or used
beyond the null orli)rtlte macdoname orcthcrpmduct, an amount equal to 14.5% cfthe grossarnountrealized bchasee computed attire
wellhead homthe sale of such suhstnnces, less atty incurred taxes and third party cherges, h'om each and every wtdi. Gn gm sold at the well, the royalty
shell be14.5% ofthe amount realized bylzscee li'om such sale. and -

(c) payment ofroyalties hereunder shall be made or tendered mond\ly, or may be withheld at the discretionch Lessee until such time as the
total withheld exceeds twenty-ave dollars ($25.00). or annually atthc end oftbc calendar year. lessee shall sell the production of the well on such terms
and couditiom as lessee in its sole dicerotiou, may deem appropriate Lessco shall havoco duty to obtain production sales terms, which maximize the
royalties payable to Lcacor hereundar, but in no event shall horace market the royalty portion of production at a price less than lessee receives for its
production

3. Allpaymentsuuderthlsleaseshollbemadebychcckorvoud:ertothcordero£andshallbemailedto, 'l' a
huthond.aad_\d& 94 MEMQLMMMMWB_ until lessee avail have received written notice dam L¢smr. its heirs or
assigns. accompanied by original or certified copies of deeds or other documents as lessee may requira, evldmng such change of ownership and
directing payments to be made ctherwise, and anypayments made as above until such ditccliou, and thereaiter in accordance with such direction shall
absolve lessee horn any liability to any heir orassignoflessor. All payments cr royalty arctic he made according to Lessor's respective interest therein,
as herein set forth, and this lease shall not he forfeited tier lessees failure to pay any royalties or other payments until lessee has received written notice
by registered mail of such tic&ult and shall faii, for apcriod cf sixty (50) days alter receipt ofwch notioc, to pay same. 'Ilu's lease shall never be subject
to a civil action or other claim to enforce claim of forfeitrne doctor Lessee‘s alleged failure to perform as specified herein unless lessee has received
written notice of lessor’r demand and therea.tior fails or refuses to satisfy lessch demand within sixty (60) days horn the receipt of said notice by
registered mail. IfI.easor owns a lever interest in the eiland gas in and under the premises than the entire undivided interest therein then the royalties
and other payments herein provided for shall be paid to l.cscor only inthe proportion whicth interest bears to tl)ewhoie and undivided interest therein

4. lu addition to the covenants of general warranty hereinabove ci:tutaioecll Lessor further covenants and agrees, that if Lessor's title to the lance
promises shall come into dispute or litigation, or, if in the judgment of lessee there are bona tide adverse claims to the royalties hereinabove provided
lor, then lessee at ila option, may withhold die payment cf said royalties without interest until final adjudication or other settlement of such dispute
litigation claim or claims; and that lessee at its option, may pay and discharge nnytaxes, mortgages Df other lien or liens existingl levied, assessed or
whichtnayherentter come into e:dstcrtce orbelcviedor assessedoooragainstthelcase premised and inure evemit exercises suchopticu, lessee shall
be subrogated to the lien and any and all rim of any holder or holders thereo£ and may reimburse itself by applying to the discharge of any such
mortgage, tax, or other lien or liens, any royalty or other payment coming hereunder. 'lhe exercise ol" such reimbursement option shall not be considered
an election of remedies

5. lf and when drilling or other operations hereunder are delayed or hitcrnrpted by lack of water, labor cr irlateriall or by l:ire, storm, fiocd,
weather, war, rebellicn, instn'rection, riot, slrilcc, dif§:rcnre¢ withworkmen, failure ofsubcontractors, or failure of carriers to transport cr hurnish facilities
tbr nmtsportntion, or as a result of some ordcr, n.tle, regulation requisition or necessity ofthc governmentl or any other recognized force majeure, or as
the result of any outer cause whatsoever beyond the wntrol oflessec, the time of such delayor interruption shall not be counted agairut lessee anything
in this lease to the contrary notwithstanding All express or implied covenants cf this lease shall be subject to all cheral and State Law.~:, Executive
l'.lrdcraJ Rules or Regulatlons audtbls lease shall not he terminated in whole or in partl nor lessee held liable in damages for failure to comply therewith
if compliance is prevented hy, or if such liti.luro is the result oh any such Law, Ordor, Rule or R.egulaticn.

6. thnever used in this leose, the word “operations" shall mean operations iior any of the foilowing‘. preparing the drill site location or access
road, drilling testingl reworlring, rccompleting, deepeo.ing, sldetra.clt;ing, plugging back1 or repairing ofawell in sede ior, or inan endeavor to maintain,
rtc-establish or enhance the production of oil or gus or hoth, whether or not in paying quantities.

7. lessee shall have the right to assign this lease or any interest therein and the assignee of lessee shall have corresponding rights, pdvileges, and
obligations with respect to said royalties and the other obligations related to the acreage assigned to it. Upon such assignment Lessee shall be relieved ot`
any obligation1 payment or liability thereallcr to accrue to the assigned portionoftltc iea.se.

ti. lessee may, at any time during the term hereo£ cancel and surrender this lence, and be relieved of any and all obligations, payments and
liabilities therea.tlerto accrue us to the lease premises, by eitherthe mailing of anotice to lessor of such cancellation and surrender, or by filing ot‘reoord

Plgclol¢

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 17 of 34 Page|D #: 22

a release or releases oftlria lease.

rel

9. lessee may drill or not chill orr the lease preruises as it may elect and the consideration paid and to be paid hereunder initr`s;s full adequate
compensation tbr such privilege l
10. No well shall he drilled by lessee within 200 feet of any dwelling or barn now on the lease prentises, except written dfiscal oftbe owner of

the surface on which such dwelling or horn is located lessee may locate drill sites and well bores where it deems rpcessary_ or appropriate on the lease
premises for the production of oil or gas or botlr. lessee may construct and maintain drill site access roads connecting to,a$ailablc roads and/or to the
nearest neighboring well operated bchssce, cr to which Lessee has the operator’s permission to use its access road. "

ll. Itis agteedtlratl.esseashallhavethcprivilcgeofusirrgii'ceofclaargesuflicientwater, oil andgas homtl'ae leasepreutises lo ruoalimachinery
necessary for operations thereon lessee shall have the right at any little dining the term of this lease or after the expiration or termination thereof to
remove all machinery, fixtures pipelines, meters, well equipment houscs, buildingsJ and other structures which lessee has placed or caused to be placed
on the lease premises including the right to pull and remove all casing and mbing.

12. Iflessae shall begin operations for the commencement cfa well during the primary term ofthis lease, or any extension thereof, Lessee shall
then have tire right to complete the drilling ami/or completion of such \vel|, and ifoil or gas or both be found in paying quantities, this lease shall continue
andbeinforceandwithlikceffectasifmichwel]hadbeeucomplctedwithintheprinraqrtenn. ‘

13. The lease premises may be fully and freely used by lessor for anypurpose, excepting such parts as arc used by lessee in operations hereunder.
lessee’s drilling producing and operating sites on the lease premises are for Lessce’s use ooly; Lessor shall not use such sites for storage or any other
purpose

14. lessee shall pay lessor fur all damages to growing agricultural crops earned by lessce’s operations on tha lease premises and shall bray all
permanent pipelines below plow depth through cultivated areas upon request of Lesaor owning an interest in the surface Darnages shall be calculated at
cia-rent mattretablevaluc only; in no instance strait estimates oflirture values be considered Any timber cut by Lcssce in preparing access_roads. right-of-
ways, or locations will he stacked in an orderlyrnanner in locations to be mutually agreed upon between by lessee and lessor and will not be subject to
damage reimbursement to Lessot by lessee Aoy injury to lessee's workers or damages to lessee's property that are caused by Lessor, whether
intentional ornot, shall be recoverable by lessee flom any royalty payments or any other payments to lessor that are due or becoming due.

15. Lessee is hereby granted tire right, at its option, to pool and unitize all or any port ofthe lease premises with any other lease or leases, wit or
lands. mineral estatea, or any oftlrem whether owned by the lessee or cmers, so ns to create one or more drilling or production units. Each such drilling
or production unit shall not erccoed 640 acres, plus an acreage tolerance of 10% in extent and shall conform to the rules and regulations of any lawful
government authority having jurisdiction oftire prenrlses, and with good drilling or production practice in the area in which such unit is located in the
event ofthe pooling oruoitization ofthe whole or any part of the lease premiscs, lessee shall before or after the completion of the well. record a copy of
itsurrit designationhrdre€ountywhcretbc lease produces arelocatcd. lanrdertogiveeft'ecttothe known limits ofths pool ofcil organ orbuthas such
limits may be determined dam available geological or rcientilic information or drilling operations, Lessee may at any time amend, re-ibrru, reduoc, or
enlarge the sizeandchape ofany unitformed, and ’mcreaseordccreasefhatportionofthe acreage coveredbythis leasewlrich is includedinany drilling
or production mrit, or exclude it atmgelher; provided that lessee shall tile an appropriate instrument of record in the county records where lands are
located and witten notice thereof shall be given to lessor promptiy. As to each drilling or production unit designed by the lesseel the lessor agrees to
accept and shall receive out oftho production or the proceeds from tire production horn such unit, such proportion of the royalties specified herein,
as the number ofacres out ofthe lands covered bythis lease which may be included from timeto time in any such unit bears to thermal number ofacres
included in such unit rather than the hill amount of the royalty stated in paragraph 2 abova. Operations on any portion ofthe unit created under the
terms of this paragraph shall have the same effect uponthe terms ofthis lease as ifoperations orproduction are being conducted oroccurring ont.he lease
premises

t6, Ifat any time after the primary term hereof there is a well capable of producing gas (with or without condensate) in paying quantities located
upon the premises or on lands pooch therewith but such well is awaiting pipeline connection or is shut-in for any other reason (wbether before or alter
production} and this lease is not maintained in three by operations or production at any well or by oter activity or event, nevertheless it shall be
considered that gus is being prodqu in paying quantities within the meaning of this lease (collcctively, the “Sbut-in Wcl.l"). On or before the end oft.be
initial year during whlohtbia lease is maintained in three for the entire mutual period under this paragraph 16, iftite Shtrt-in Well has been shirt-iu lirr at
least 90 consecutive days during such period. lessee shall payor tanderto lessor hereuudcr, or to those entitled to the royalties provided mr in this lease
a shut-in royalty equal to Sl.l]il per acre lirr the acreage held under this lease at the time such payment or tender is made Eaclr subsequent payment or
tendershalibemadethu'eatterinlibe mannersndamountonorbetbrethe cndot`cachaunualperiodwhilethelease ismaintainedhrwrcefortheentire
annual period undertbc drst sentence of this paragraph lé. lnssee’s failure to timely or correctly pay or tender the shut-in royalty for any year shall not
operate to minute this lease or serve as abasis for its cmrcellation, but lessee shall correct any erroneous payment or tendcr, when notified thereof, and
if late than lessee shall make the correcting payment or tender with interest at the rate of eight (8%) percent per annum to those to whom suchrshut-in
royalty wasnottimeiyor correctlypaidorteodered. As iongas any well isshut-in, itshailbe consideredfcrthe purposes ofnraintainingthis lease in
force that gas is being produced in paying quantities and this lease shall condone in cii`ect both before and alter the primary tcrm. Notwithstanding
anything to the contrary contained in this lease, attire option oflessee, which may be exercised by Leasee giving notice to Lcssur, a well which has
been drilled and lessee intends to free shall be deemed a well capable of producing in paying quantities and the date such weil is shut-in shall be
when the drilling operations are completed

17. lessee shall be entitled during the term ot'this lease to lay and maintain pipelines on and across lessors premises to trausport, without any fee
payable therefore to Lessor, natural gas produced on the said tract of land settlor on other lands whether or not adjacent to the train of land described
herein Anysuchh'ansportationorgatheringlines shall aiwaysremaintbe propenyofl'_,essee. Beyondtheterm ofthis leose, lessee shallnotbeentitled
to lay and maintain additional pipelines across lessor‘s premises without specific written consent oflessor. i-lowever, any pipelines laid during the tenn
of this lease shall continue to be operative at the Lessee‘s option without any fee payable to Lessor and l.essec shall continue to have the right of
unlimited access to maintain or remove said pipelines

18. lessee in its sole discretion may plug and abandon any well which it has drilled on the lease premises Upnn abandonment ofsaid well or
wells drilled on the lease premises, lessee shall restore to the extent reasonably practicale the drill site, access road(s) to said drill site(slr culverts and
gates

l9. All the terms, conditions limitations and covenants herein contained shall be binding upon the parties hmetn and shall einendto and be binding
upon their respective heirs. successors personal representatives and assigns, but no representations other than those herein contained shall be binding on
either party.

20. ln addition to the covenants of general warranty hereinabove contained lessor hereby warrants that: (i) the lease premises are not encumde
by any cntbroeablc oil or gas lease(s) of record or otherwisea and {ii) lessor is not crurently receiving any bonus. rental, production royalty or shut-in
royalty as the result of any prior oil or gas iease(s) covering any or all of the aubjcct property, and (iii) all wells drilled upon the lease prcmises, or upon
any lmrda with whichthc lease premises have been combined in adrllling or production unit have been plugged and abandoned

21. Ifdl.u‘ingtite term of this lease the lessor makes aoonveyance whereby the surface rights are uansferred on the entire lease or aportion therccf,
Lessor shall promptly give notice of same to lessee and lessor shall forward to lessee a recorded copy of such conveyance lessor shall similarly
providethc now title holder(s) to the stufacerights with the terms and provisions of this Oil and Gas Lcasc that said title holders are subject to.

22. Ifl.essor receives ano)&’cr to leasethe oil or gas orboth concerning any portion ofthc lease premises described herein at any time while this
agreement remains in full force and effect or within six (6) months tlrereattcr, I.essor hereby agrees to notify lessee of offeror‘s namer and to otter
huntediatcly to Lemee, in writing the same lease terms. lessee shall have fifteen (15) days to accept or reject the said offer to lease the oil and gas

hal 2 art

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 18 of 34 Page|D #: 23

covered by the offer attire price, teriris and conditions speciiied' m tha oti`er. Faihire ofLessoi to provide such notice and offsite lessee shall terminate
any lease cntcred` into betwch Lcssor and such offeror fn
23. This instrument may be executed in counterparts each having the same validity and all of which shall constitute __i_iri;tand the same
instrument Should any one or more ofthe parties named as L=ssor fail to examine this lease, it shall nevertheless bebindiugu all such parties who do
execute it as Lessor- /_ g

LL
24. l'f any provision cf this lease is held invalid or mcaliircealilc by any court of competent jurisdiction, the olher§rovisions of this Agreenient
will remain iii hill force and efllcct. A.ny provision of this Agreeraent held invalid or unenforceable only' in part or degree will remain in hill force and
e)`?fentto the extent not held `mvalid or unenforceable

25A This Lcase contains the entire agreement ofLessor and lessee and supersedes and replaces any oral or witten communication heretofore
made between them relating to thc subject matter.

26. As a result of topography, land developith in the vicinity of said land, govertmiencel rules or ordinances regarding well sites, and/or
surface restrictions as may bo set forth in this lease and/or other leases iii the vicinity, surface locations for well sites iii the vicinity may be limited
and Lessee may encounter difficulty securing surface locatiou(s] for drilling reworking or other operations Therei`ore, since drilling, reworking or
other operations may either be restricted or not allowed on said land or other leases iii the viciriity, it is agreed that any such operations conducted at a
surface location off of said land or off of lands with which said land arc pooled in accordance with this leasa, provided that such operations are
msociated with a directional well for the purpose of drilling, rcwoil:ing, producing or other operations under said land or lands pooled ther¢=.\iritha
shall for purposes of this lease be deemed operations conducted on said land. Nothing contained in this paragraph is intended to modify any surface
restrictions or pooling provisions or restrictions contained iii this lesse, except as expressly stated

IN WETNBSS WH`.EREOF, the parties to this agreement have hereunto set their hands and seals the day and year first above written

 

 

Jason P. Basi'iet‘t Tercsa L. Biisnett

I>rll3 ali

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 19 of 34 Page|D #: 24

 

 

 

 

Stsw of

County of

On this day of , , bo$brc me the undersigned No!ary Public§d aodfr)r raid County
and Swfe personally appeared larson P. Basnett & Ter¢:sa L.Basnett, husband and wife known to me to bc the person,s-` who ` es subscribed to

the foregoing instrument and acknowledged that they executed the sam ns their free and voluntary act;{nd " deed ii)r 1he purpose and
oonsidera£ioo therein mendoon and set forth. "\ /

!N W'I'I'NESS Wf-IEREOI-` I have hereunto set my hand md official sca[.
My Commission I:`.xpi.res:

Signamre."Notmy`Public:

Namemom'y Public (print):

Prcpar¢ll by: ‘1`. S. lindley Laod Company, {nc.

A!!er Record!ng, please return to:

XTO Energy. Lm:.

810 Hnus¢on Strut

Fort Worl'!l TX, 76102~6298 LPR# 12-07592-2628

Fagldofl

Case 1:17-cv-00226-ll\/|K Document 1-1 Filed 12/29/17 Page 20 of 34 PagelD #: 25

 

i*` alj d
EXH|BH. ,.A.. ii n KJ, Paga 1 of1
,// "\\
TH|S EXHiB|T "A" attached hereto and made a part of that certain "Oil & Gas Laasa" date the t}th day of
September, 2012 by and between Jason P. Easnett & Teresa L. Basnett, husband and wife, ~a Lessor and
XTO Energy, |nc., as Lessee.

LEGAL DESCRIPT[GN:

26.6880000 acras. more or Iess, described in Warrsnty Dasd Book 982, Page 266, dated 02-17-2003, from
Dennls B. Basnett and Judith Basnet_ his wife, to Jason P. Basnett and Teresa L. Basnet. his wifa, also
described as Linooln Tax District (11), Map 0057. Parcel Number 0020-0000. Tax Paroel id Number 11-
0057-0020-0000.

3.0000000 acres, more or less, described in Warranty Deed Book 944, Pago ?9. dated 12~03-'[997, from
Roy G. Basnett and Doris J. Basnett. his attorney-in-_fact, Doris J. Basneit, his wife. to Jason P. Basnett and
Teresa L. Basnatt. his wite. also described as Ltncoln Tax District(11). Map 0057, i’srcel Numbar 0020-
0001. Tax Parcel id Numbar 11-0057~0020-0001.

1.0000000 acras, more or less, described in Warranty Deed Book 1056, Page 207, dated 10-07-2009. from
Louis P. Brown, widow. to Raymond M. Luoas and Pam E, Lucas. his wifa, also described as Lincoin Tax
District (11), Niap 005?, Parcei Number 0023~0001. Tax Parcel id Number 11-0057-0023-0001.

4.0000000 acres, more or lessl described in Warrar\iy Deed Book 982, Page 266, dated 02-17~2003, from
Dennis G. Basnett and Judith Basnett, his wife, to Jason P. Basnett and Teresa L. Basnet, his wifs, also
described as Llncoln Tax Dlstrict (11), Map 0057, Parcel Number 0021-0000. Tax Parcel id Number 11-
0057-0021~0000. ,

OTHER PROV|SICNS:

The lands covered by this lease are limited to only those depths below the top of the GeneseoiBurkott
formationl

F'UGH CLAUSE

Foilowing the expiration of the primary term of this lease or the expiration of any extension or renewal of the
primary tarm, whichever occurs last, drilling or reworking operations on or production from a pooled unit or units
established under the provisions of printed paragraph 15 hereof, which includes a portion or portions of the
leased premises and other iand, shall maintain this iease ln force only as to land included within the surface
boundaries of such unit or units.

 

Jason P. Basnett Tarasa L. Basnett

Case 1:17-cv-OO226-ll\/lK Document 1-1 Filed 12/29/17 Page 21 of 34 PagelD #: 26

gwcl minn consuL-rnn'rs
`A'r'rN ankle tinan 3013¢.;.0,_1;.;53 B°°*` F‘*’@
66 messrsan enth sons
Jnnn st wv 26373

Ins|:runent
1133 402

L:E.a

THIS DEED is made this 26"‘ day ofMay, 2013, by and between Jason P. Basnctt and
Teresa L. Basnctt, husband and wife, whose address is 313 Festus Ridgc Rd, Worthington, WV
26591, herein referred to as "Grantor", and, XTO Energy Inc., whose address is 810 Hooston
Street, Fort Worth, TX 76102-6298, herein referred to as "Grsntcc".

WITNESSETH:

'f`hat for and in consideration of the sum of Onc and OO/ 100 Dollars ($10.00), the receipt
of which is hereby acknowledged Grantor hereby grants and conveys to Grantce, with covenants
of general warranty, the SURFACE, and only the surface, together with all privileges and
appurtenances thereto betonging, of that certain tractor parcel of land containing 0.036 acrcs, more
or icss, located along County Road 46 and near the waters ofTaverbaugh Creek in Lincoln District,
Marion County, West Virginia, and more particularly described as foilows:

NONCONTROLLED ACCBSS RiGHT OF WAY

Begimling at a 5/8" reber set on the northerly right-of-way line of Cot.lnty Road 46 offset 15' ii'om
thc centcrline of said road; thence along the nolthcrly right-of-way line of said road the following
three courses and distanccs:

S 55°07'51" W 93.89' to a point; thence
S 67°17'34" W 41.77’ to a point; thence

S 82°19'37" W 66,14' to a 5/8" rebar set on thc northerly right-of-way line of County Road 46
offset 15' from the centcrlinc of said road; thence through land now or formerly of Jason P. &
Tercsa L. Basnctt the following two courses and distanccs:

N 72°02'31" E 67.19' to a point; thence
N 63°42'09" E 170.33' to a 5/3" reber set, the point of beginning.

Containing an area of 1,554 sq. ft. or 0.036 acres as shown on a plat entitled “Plat of Partition
Survcy for XTO Energy, Inc. on Thc Lands of Jason P. & Teresa L. Basnett” attached hercto, and
by reference made a part of this description

Being a part of the lands conveyed to Jeson P. & Teresa L. Basnctt by Dennis G. Basnctt by deed
dated Fcbruary 17, 2003 as recorded in the Office of thc County Clerl< of Marion County West
Virginia in Deed Book Voi. 982, Page 266.

There is EXCEPTED and RESERVED end not hereby convcycd, from and under the above-
dcscribcd real cstate, all of thc coai, all substances, including but not iimitccl to, gas contained in
the coal cr found in association with it, all rock and other materials above and below any coal seem
as may be convenient for thc mining of the cca], the spaces which contain the coal or from which
coat is removed or which may be caused by removal of coal, including but not limited to, gas and
Othet’ Substanccs which may escape to or exist in such Spaces (all of which is referred to herein as
"coal"), and all oil and gas and oil and gas bearing sands, strata, formations and horizons in which
oil and gas may be or may have been found, and as reserved in prior deeds

The above~described real estate is also subject to any and ali prior exceptions, rcservations,
rights»of-way, easements and other restrictions and scrvirudes of record affecting the surface estate
hereby conveyed

WL&§NTEFF’§
EXW§BEY

2.

 

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 22 of 34 Page|D #: 27

Instrunent Bno[: Fuse
2013£1|]!]07~$53 1133 403

D§claratig_g gf Consideration or Value

This undersigned Grantor hereby declares that the total consideration paid for the
rea} estate hereby conveyed is Thirty Thousand Dollars 00/ 100 Dollars ($30,000.00).

IN WITNESS WHEREOF, the Grantor has caused this instrument to be duly
executed by its undersigned authorized official as of the date first hereinabove written.

§ason P. Basnett
§eresa L. Basnett

STATE OF WEST VIRGINIA
COUNTY OF MAR.ION, TO-WIT:

l. er'i"! D. , a notary public of said county, do certify that Jason P. Basnett
and Teresa L. Basnett, husband and wife, who signed the writing hereto annexed, bearing date as

of the ZO“¢ day of Na\l( , 2013, has this day in my said county, before me,
acknowledged the same to be the act and deed of said County.

Given under my hand this 2[:“ day of Ma.;-{ , 2013.

My commission expires: M_C:HFL
NO ARY PUBL[C

gail l¥ 'a¢>'m.

"v mwwu:mvm

   
 

WE!E|NU|W||HNII|||IH[INM|H|M|
§ n WWIIM|I||HHMMI!JII

This instrument was prepared by: amp..,‘{,,.',,,,,,_wm
§wiumllmw'i:iinimummum?m°tii'w'%'wiiimnwn§

JWCI Land Consultants

66 Industn'al Fark Road

jane Lew, WV 263?8

 

 

 

 

 

 

 

 

 

 

 

 

 

1133 $Di

tour me

 

n\euo.i¢w= _.e.wr .R .. w Hn.. _S n ._F § .Le§mr 3 ~c»§t&»e s=._..§> §§ ._u..._ 3 .»£.3=8 32 n §§ 53
§§ B__. .§.,.8 §§ ~ \ . HlHl .£ ..AE._»>E. do ._£.e... Szou£ !u... 2.= co 325 ss sands grace §§ erl_sl._.a_.¢ acid d
_..HuEmo § _ S.Po.. i_<h! .S b $u>..=n 05 we b_.=._ou 05 ,M._MM=£ we »o>.§n 35 »E oE_.w 05 do u_pe=o>u »Ewwumo=n:¢

. 05 mo mab._uouu no bca nw ven bca § cozoE._o~cw 05 nov nw coo._un ES_.F B_on hanna _uu a£, d

....Ezm¢mJ<mmzuwm mzomE. wm%ms§%.hz§ ._Hw~ 63 owed _..o ~mm seem nova 5 259§ sys .h=..ou gomez ._o fo_u 3§3 _.£ »o
S.u..i_¢£§ uuc..o u£ 5 voBouE mo $o:nom ..._ ono._o._. d d comu_. 3 nuuw>v_w muco_ o£ 5 ton o mm uc£ 8 _ou»oa
§E<ouh=_._oo. .WUNH m~z m _._Bmc£ ..»..:2_ B§_.~E_K 83 mno.o_ 8 se 232 $.r.._ o en muruu§B se §§ §§ m__.=. p.m.

.ur_m _._a cases mcozu_fcm 0

>m>¢am zc:.:.m<._ mo »5._ o - mem m_._ao §§ ssi .~_._o~ 552 .BE t E£Lw 22._%.68 sea sun 2.._.?5 .n..s .5 Eo.=
E__.TR¢?E non En¢.-i..r . ii vu>tv_u mm umwa Soc_.?_noo B_ .=Eu.coE Atoc eto 05 co woman mm §:w 35 we seizure o_._._. .<
_.s”¢e.“.e.i.._£ .“eoz

 

 

 

Instrui\=nt
201301}00?653

 

va .uz~m<.m._mo<.@._<.m. \m.m..,.ah©.u l ~E..h

 

         

.. _ §§ \.r.»\\ § .§~ §§ .S.S..: ._..i we .
. .". rs » n §§ fm §§ \
.. t §§ 4 E=E a m §§ § t
§§ § w,.__.@.m\. t \. .\
mm 30 \. \ t t w

        

   

_ wm § .. esq M.P§e@y.,e 1
3 § §a aw_.= co nw .. ..,..., . . . omwvznoo , . .0 .

. .. :\.,».\_wm 95 005 §§qu ” .u.n. m.§. adm mM.._m.U.d... f
U.»h.. . ..l\

 

 

 

Q<DG usan m.h m.U.w.$
SZ_UE_> hwm_.$ .zohwzz_rw ummz mg

ngade N._<°M

L<E zo_._.<uo¢~ w._._w_

       

§§ mno.o
n».._ am emma
5 § .L"wrwer: adm

umw Hu_..m .Nwm .LNQ
E_r.wwm. d §§ a. .n. downs

     

. m<m_mm_.mm ._mm
.m.O.a o §Eou Bh¢.__._u._<u
. z.¢.mwm ._UM
Y§e §§ se s :--PE_ §Et§§m §§
z§ E nw_e§m_n_ b>§m . _r llllll sr r
.Oj .Oz_mmwz§_zw ..r_.ZDOU|_Kh ....I..ll.r[lr¢rl »¢_.$|.mo|.__.ruhz §§u
5 335 »<.E d oz_;$_n . rilit]t mzn EW§E

m._.oz QZHQ&Q

 

 

 

 

Case 1:17-Cv-OO226-|l\/|K.. Document 1-1 File.d 12/29/17 Page 23 of 34 Page|D #: 28

05-23~2013 At 52=34 nm.
1153 Pase 492 - 404

HRRIDN ¢{JUNTY v HV
DEED

20130¢3007&53
Filed l'or~ Racor'd in
..fMt!CE CBSCO» CDUN`£"\" CS_ERK

STME TF\K
CUUHT¥ TAK

Book

was this day produced to me in

my office and duly admitted to record.

f

§M./ dow clerk

l, janice Cosr:o, Clerk of the County Comrnission of said
d.

Cuunty, do hereby certify that the foregoing writing, with

STATE OF WEST VtRG|NIA, County of Marion,
Wi!ness my han

To-Wil:
certificate therein annexed

Case 1;17-c_\/-OO226-_|_|\/|K Document1-1 Filed 12/29/17 Page 24 of 34 Page|D #: 29

tostrumenl; Bunk Pase
2111?1]01312%2 1215 1152

la a

I;,ETTER OF AGREEMENT

This Agreement is between XTO Enei gy Inc., 810 Houston Street,
Fort Worth, T`exas 76102 hereinafter referred to as (Lessec} and Jason P. & 'I`eresa L.
/:¥FB Basnett With an address of-_g\"§Festus R.idge Rd. Wcrthington, WV 26591, hereinafter
referred as (Lessor), the owner of the following described mineral acreage situate in
Lincoln District Marion County, West Vi_rginia, to wit:

26.68300(}0 acres, more or less, described in Warranty Deed Booi< 982, Page 266, dated
02-¥7-2003, from Dennis B. Basnett and Judith Basnett, his wife, to .lason P. Basnett and
Teresa L. Basnct‘{, his wife, also described as Lincoln Tax District (i 1), Map 0057, Parcel
Numbor 0020'0000. Tax Parcel Id Nuntber 11-0057~0020~00{}0.

3.00{}0000 acres, more or loss, described in Warranty Deed Boolc 5?44, Page 79, dated 12-
03-1997, from Roy G. Basnett and Doris J. Basnett, his attorney-iri-fact, Doris J. Basnett,
his wife, to Ja.son P. Basnett and 'I`eresa L. Basnett, his wife, also described as Lincoln
Tax District (ll), Map 0057, Parcel Number 0020»0001. Tax Pa.rcel Id Nnmber 11-0057-
0020-0001.

1.6000000 acres, more or less, described in Warranty Deed Booi< 105 6, Page 207, dated
10~07-2009, from Lonis P. Brown, Widow, to Rayrncnd M. anas and Parn E. Lucas, his
wife, also described as Lincoln Tax District (11), Map 0057, Parcel Nurnber 0023-000}.
Tax Parcel Id Nurnber 11-0057-0023-0001.

4.0000000 acres, more or less, described in Wan'anty Deed Bool< 982, Page 266, dated
02-17-2003, from Dennis B. Basnett and Judith Basnett, 'his wife, to Iason P. Basnett and
Teresa L. Basnett, his wife, also described as Lincoln Tax District (11), Map 0057, Parcel
Nuinber 0021-0000. Tax Parcel ld Number 11-0057-0021-0000.

And containing 34.6880000 acres of land whether actually containing more or less.

For sufficient consideration provided by Lessor, Lessee hereby grants to Lessor a
Guarantee to include the above described mineral acreages in one or more pooled and
unitized drilling and production units upon the issuance of permits to drill same.

This agreement Will be binding upon Lessee to include Les_sor’s minerai acreage
in one or more pooled and unitized drilling and production units as they are permitted
drilied and developed, however this agreement does not obligate Lessce to drill Welis in
either unit.

ri`his agreement Will be binding upon and inure to the benefit o_f the parties hereto
their respective heirs, beneficiaries, legal representatives, Successors and assigns

LESSEE:

("/Z:"/f//-//*- Date: 5/2'0/'3

Edwin S. _Ryan, Jr., Sr V. P.-
Land Adlninistration D¢l bap

 

LESSOR:

W Det€=__$`_';::£_'_#.z_mn
n P. Basnett
MM Date: .§"?-Q"f §

Teresa L. Basnett p€-&ENTEFF’S
EXHEBE"?`

1 3

 

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 25 of 34 Page|D #: 30

. instrument B k
_ 201?0£\{|12562 1515 P%§

n' '\\

ACKN OWLEDGEMEN'I`S

 

S'I`ATE OF TEXAS,
COUNTY OF TARRANT, TO-WI'I`:

I, whom AsHLst iAss:rEre , a notary public of said county, do certify that
Edwin S. Ryan, Jr., who acknowledged himself to be Sr. V. P.-Land Adm'mistration of
XTO Encrgy Inc., a Deiaware corporation, who signed the writing hereto annexed,
bearing date as ofthe’_LO_ day of , 20_\?)_, has this day in my said

- county, before me, acknowledged the same to be the act and deed of said corporation

owen under my hand this QO day of N\A\t , nigh

 

 

 

 

 

 

)
NO"{ARY @ \

My commission expires:

€\i\c\\i to flow

 

 

    
 

   

 

 

STA'I`E OF WEST VIRGINIA,
COUN'I`Y OF MARION, TO-WI'I':
L Kr i-i'{»\ D. (u os' , a notary public of said county, do certify that
Jason P. Basnett & Teres:':i L. Basnett, who signed the writing hereto annexed`, bearing
date as ofthe gm day of Ma¥ , 20 _Q, has this day in my said oounty, before
me, acknowledged the same to be the act and deed of said county.
Given under my hand this Zb'f(‘ day of /L{a»‘{ ,20 /-5' .
§1|mmlltwmlittonmsnulltmuutmltunaulltl\simllltlltlllmhlllil!u§
§ .,“"" ”`P?-'» mme-rm §
§§ , unnmvzuauo .
“ - " "E'“sss~'" § `
§§ .i.:::::::;::n:;::::::*"“"' , ,t,>iii\\
gilliamnlamluisllllmllIIilnatliliilstllillttlttliumllitl\lt.|lm NOTARY PUB.E c g
My commission expires: 2$17050125 62
- iiii§w*§§u§$i°“ivi“
A."“{ lg, T° m .msic\-: cns{:n,'coumv emma

El‘?'-l$-'Elli'? At 03=32 Pm.

AGREE DEL`£D 11.!]11|
STF\TE TAX .UB
CGU|‘{TY 'i`F\X .Ul]
Boo|t 1215 Ptme 652 ~ 653

This instrument was prepared by:
JWCl hand Consu§tants

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 26 of 34 Page|D #: 31

VER|F|CAT|ON

STATE OF WEST V!RG¥N|A,

COUNTY OF MAR|ON, TO»VV|T:

Jason P. Basnett, P|aintiff named in the foregoing Compiaint, being first duly
sworn, says that the facts and aliegations therein contained are true, except insofar as

they are therein stated to be upon information, he beiieves them to be true.

mut amon n < ;; d f f
No\ary Public Ottlcill S|l| AOM ,/ /»?)<)f\jz?¢

sum $moé\:‘mlew `_ Jason P. Basnett

441 mont hamm M him W\f emi

 

Taken, subscribed and sworn to before me this the f § day of November,

2017.

f /
i/ tary Pub|ic
My Commission Expires:

DDU¢£M¢_;)€PB|, §O<Q{

 

 

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 27 of 34 Page|D #: 32

VERIFICAT|ON

STATE OF WEST V|RG|N[A,

COUNTY OF |V|AR|ON, TO-W|T:

Teresa L. Basnett, P|aintiff named in the foregoing Compiaint, being first duly
sworn, says that the facts and allegations therein contained are true, except insofar as

they are therein stated to be upon information, she believes them to be true

......":t...tt:::;.':,... <d/¢@oa:¢l§awjf”`

wh MWWW Teresa i_. Basnett

ssi my cum mm a. ann
' m mm sum u. immune

 

Taken, Subscribed and sworn to before rne this the iii day of November,

2017.

    

 

 

3ubiic

IV|y Commission Expires:

/On i)<ir\£-Qr*-Z; 90 2 i

 

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 28 of 34 Page|D #: 33

West Virginia E-Filing Notice

CC~24-20 l 7-C-309

 

Judge: David lanes

To: Kenneth Miller
aiexmiilerlawofficeswv@gmail.com

 

NOTICE OF ELECTRONIC FILING

 

IN THE CIRCUIT COURT OF MARION COUNTY, WEST VIRGINIA

Jason Basnett v. XTO Energy Inc.
CC-24~2017-C-309

The following complaint Was FILED on 11/21/2017 l:(}l : 17 PM

Notice Date: 11/21/2017 1:01:17 PM

Rhonda Starn

CLERK OF THE CIRCUIT
Marion

219 Adarn Street, Room 21 l
FAIRMONT, WV 26554

(304) 367-5360

rhonda.starn@com'tswv .gov

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 29 of 34 Page|D #: 34

West Virginia E-Filing Notice

CC-24~20I 7-C-309

 

Judgc: David lanes

To: XTO Energy Inc.
Corporation Service Company,
209 West Washington Street
Charleston, WV 253()2

 

NOTICE OF ELECTRONIC FILING

 

IN THE CIRCUIT COURT OF MARION COUNTY, WEST VIRGINIA

Jason Basnett v. XTO Bnergy Inc.
CC-24-2017¢C-309

The following complaint was FILED on 11/21/2017" 1:01:17r PM

Notice Date: 11/21/20171:01:1?PM

Rhonda Stam

CLERK OF THE CIRCUIT
Marion

219 Adam Street, Roorn 21 1
FAIRMONT, WV 26554

(304) 367-5360

rhonda.stam@courtswv.gov

Case 1:17-cv-OO226-||\/|K Document 1-1 Filed 12/29/17 Page 30 of 34 Page|D #: 35

  

 

Request for Legal Process to be Served by the West Virginia Secretary of State

 

Please serve the named defendant XTO Energy Inc.
in the attached matter according to the provision of applicable law.

Q§ztA-s-ivc
l:i§29_19-14

§311)-5-504 &
misses-13

-§31D-15-1510

§31B-l-111 &
m§SlB-9-906

i:i§33-4-12

§33-4-13 &
m §33-2»22

§§s-rA-r &
i:i$ss_rA-s

{:i §46A-2-137
11347-94

ij §47-9-4
§§§56-3 -31
ij§ss-s-s 1

ij §38-5A-5

Service on non-resident employer & others liable for unemployment comensation payments

Scrvice on professional fund raising counsel, nonresident charitable organizations or professional solicitors soliciting
contributions from people in this State

Service on authorized domestic corporation

Service on unauthorized foreign corporation

Service on authorized domestic or foreign limited fiabiiity company
Service on licensed insurer

Service on unlicensed or unauthorized foreign insurer

Service on non-resident trustee of a security trust

Service on certain nonresidents under WV Consurner Credit and Protection Act

Service on authorized domestic or foreign limited partnership formed under §47-9, or limited liability partnership (LLP) formed
under §4713-10 (see also §56-3-13a, §47B-9-6)

Service on unauthorized foreign limited partnership or LLP

Service on nonresident motor vehicle operator involved in an accident in this state, or on his/her insurer

Scrvice on individual under the long-arm statute because the individuai is:

[:I(l) Transacting business in this state

[:](2) Contacting to supply services or things in this state

[:](3) Causing tortious injury in this state by act or omission (see §56-3-33(4) for description of causing tortious inury)
§(4) Non-support of minor children (pusuant to Lozinski v. Lozinsi<i)

ij (5) Causing injury in this state by breach of warranty

§§ (6) Having interest in, using or possessing real property in this state

I:I ('.") Contracting to insure person, property or risk located in WV at the time of contracting

Service of suggestee execution as provided for in §38-5A

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 31 of 34 Page|D #: 36
SUMMONS

 

 

IN THE CIRCUIT OF MARION WEST VIRGINIA
Jason Basnett v. XTO Energy Inc.

Service Type'. Secretary of State - Certified

NOTICE TO; XTO Energy Inc., Corporation Service Company,, 209 West Washington Street, Charieston, WV 25 302

THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION TO PR()TECT YOUR
RIGHTS. YOU OR YOUR ATTORNEY ARE REQUlRED TO FILE THE ORIGlNAL OF Y()UR WRITTEN ANSWER, EITHER ADMITTING OR
DENYING EACH ALLEGA'I`ION IN 'I`HE COMPLAINT WITH THE CLERK OF THiS COURT. A COPY OF YOUR ANSWER MUST BE MA[LED OR
HAND DELIVERED BY ¥OU OR YOUR ATTORNEY TO THE OPPOSiNG PARTY'S ATTORNEY:

Kennetb Miller, 936 East Park Avenue, Suite 2, Fairmont, WV 26554

THE ANSWER MUST BE MA.ILED WITHJN 30 DAYS AF"I`ER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO YOU OR A JUDGMENT
BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT.

 

 

 

 

SERVICE:
11/21/20171:()1:17 PM /S/ Rhgnda Starn
Date Clerk
R_ETURN ON SERVICE:

ij Return receipt of certified mail received in this office on

 

E:] I certify that l personally delivered a copy of the Summons and Complaint to

 

 

i:i Not Found in Baiiiwick

 

 

Date Server‘s Signature

 

SUMMONS

 

l a

L‘J IN THE CIRCUIT OF MARIGN WEST VIRGINIA
Jason Basnett v. X'I`O Energy Inc.

Service Type: Secretary of State - Ceniiied

NOTICE 'I`O: XTO Energy Inc., Co{pgration Serviee Company,, 269 West Washington Street, Charleston, WV 25302
THE CCMPLAINT WHICH lS A'I'I`ACHED TO THIS SUMMONS IS IMPORTAN'I` AN`D YOU MUST TAKE IMME.DIATE ACTION 'I`O PROTECT YOUR
RIGHTS. YOU OR YOUR A'ITORNEY ARE REQU[RED TO FILE THE OR]GINAL OF YOUR WRI'I'I'EN ANSWER, EITHER ADMITI'ING OR

DEN\’ING EACH ALLEGATION IN THE COMPLAINT WlTH THE CI.ERK OF THlS COURT. A COPY OF ‘{OUR ANSWER MUST BE MA£LED OR
HAND DELIV£RED BY YOU OR YOUR ATTORNEY TO THE OPPOS|NG PARTY'S A'ITORNEY:

Kermeth Miiler, 936 East Park Avenue, Suite 2, Fairmont, WV 26554

THE ANSWER MUS'I' BE MAILED WI”H'{IN 30 DAYS AFI'ER THlS SUMMONS AND COMPLAINT WERE DELIVER.ED TO YOU OR. A JUDGMENT
BY DEFAULT MAY BE ENTERED AGA[NST YOU FOR THE MONEY OR OTHER THI`NGS DEMANDED IN THE COMPLAINT.

 

SERVICE:

IHZl/Zt)l? l:(Jl:l’lT PM /s/ RhoadaStam

Date Cierk

 

 

RETURN ON SERVICE:

[:I Retum receipt of certiEed mail received in this office on

 

i:l I certify that l personally delivered a copy of the Summons and Complaint to

 

 

[:INot Found in Bailiwick

 

 

Date Server's Signaturc

i>ruwmi?jm

Wmowr’@“€wtiwwi" ;M WM'

 

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 33 of 34 Page|D #: 38

Office of the Secretary of State '
Bui|ding 1 Suite 157-K
1900 Kanawha vad E.
Char|eston, WV 25305

        

"1n

Mac Wamer
Secretary of Siaie
State of West virginia
Phone: 304-558-6000
888-767-8683
Visit us on|ine:
Rhonda L.Starn "'W"Nsns'mm
Marion County Courthouse
219 Adams St Rm 211
Fairmont, WV 26554-1269
- ';' ,'-.~ "~'1 rn
C“) 1':..§ ._ y ('> ""_:
C: i"""' r"' ¢"‘
.__. > m ___m
"""i cr _`_ z m
cf - § s
’-Ii=' if =i §
::‘:';jv '.'." 3 §§

v
.‘

'i‘\.¥
-‘)"1

Agent: Corporation Service Cornpany
County: Marion

"i
.3

Contro| Number: 206426

Defendant: ETO ENERGY INC.

209 West Washington Street _ _ _ _
Char|eston, WV 25302 US C“"l A°t'°"' 17'0`309

Certified Number: 92148901125134100002194151
Sarvice Date: 11/29/2017

lam enclosing:
1 summons and complaint

which was served on the Secretary at the State Capito| as your statutory attorney-in-tact. Acoording to |aw, l have accepted
service of process in the name and on behaff of your corporation

Please note that this office has no connection whatsoever Wr':h the enclosed documents other than to accept service of

process in the name and on behalf of your corporation as your attorney-in-fect. P!ease address any questions about this
document direct!y to the court or the plaintiffs attorney, shown in the enclosed paper, not to the Secretary of Srate's office

Sincere|y.

yz/E ;/W,_M

Mac Wamer
Secretary of State

Case 1:17-cv-00226-||\/|K Document 1-1 Filed 12/29/17 Page 34 of 34 Page|D #: 39

SUMMONS

 

IN 'I`HE CIRCU¥T OF MAR]ON WEST VIRGINIA
Jason Basnett v. XTO Energy Inc.

Service Type: Secrctary of State - Certifred

NOTICE TO: XTD Encrgy Inc., Corporation Scrvice Company,, 209 West Washington Street, Charleston, WV 25302

THE COMPLAI'N'I` WHICH lS ATI`ACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATB ACTlON 'I`O PROTECT YOUR
QUIRED 'I`O FELE THE OR.lGlNAL O.F YOUR WR!TTEN ANSWER1 EITHER ADMI”ITING OR

RIGHTS. YOU OR YOUR .A,'i"l`ORNE`l' AR.E R.E
AINT WITH 'S`HE CLERK. OF TH[S COURT. !\ COPY OF YOUR ANSWER MUST BE MAII.ED OR

DENYING EACH ALLEGAT|ON IN THE COMPL
HAND DEL[VERED BY YOU OR YOUR ATTORNEY TO THE OPPOSING PARTY‘S ATTORNEY:

Kcnneth Miiler, 936 East Park Avenue, Suite 2, Fairmont, WV 26554

THE ANSWER MUST BE MAILED WlTHlN 30 DAYS AFTER THlS SUMMONS AND COMPLAINT WERE DELlVERED T() YOU OR A JUDGMENT
BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS DEMANDED IN 'I`I'IE COMPLATNT.

 

 

 

 

 

 

 

 

 

SERVICE:
ll/Zl/ZOI'/ l:Ol:l'i‘PM /S/Rhonda S;am
Date Clerk

f.’}

RETURN on ssavicr;: ;i§? 3 fi.; ~;,

fig r~. 3 § .`:`_‘ 1:°)

1" "= 53

[] Return receipt of certified mail received in this office on ;;-`f";-'.r w 1`{-¢'

m "‘7 -D '~4

l:l I certify that l personaily delivered a copy of thc Surrunons and Complaint to :"£: .,G ii i-H~:,"

-`-` co -f' 'Ti

aa o .~:.e

[:iNot Found in Baiiiwick § ` ` o'~ ila
Date Server's Signature
rp t
'~‘.‘ C¢,\/
V/~.
4% t se
/ -,,>
q._&>

FiHONDA L.. STARN

Circuit Clerk
219 f-\.dems St., Rm. 211

Fairrnent, WV 26554

